IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

BRIAN D. WILCOX AND
RAYLENE WILCOX
Plaintiff,

Civil Action No.
Jury Demand

VS.

THE TRAVELERS INDEMNITY
COMPANY OF AMERICA
Defendant.

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that Defendant, The Travelers Indemnity Company of
Arnerica, removes this case to the United States District Court for the Middlc District of
Tennessee, Nashville Division, pursuant to 28 U.S.C. Secs. 1441 and 1446. The grounds
for the removal are as folloWs:
1. Plaintiffs filed the above-styled action on Septernber 10, 2009 against The
Travelers Indemnity Company of Arnerica in the Circuit Court of Rutherford County,
Tennessee in Murfreesboro, Tennessee. The suit is styled: Brz'an D. Wz'lcox and Raylene
Wilcox v. T he Travelers Ina'emnz'ty Company of Amerz`ca, docket number 09-1320CV. A
true and correct copy of the pleading is attached hereto as Exhibit A.
2. The suit Was served on this Defendant on September 30, 2009.
3. Other than the filing of the Cornplaint, no proceedings have taken place in this
matter. The Travclers lndemnity Company of America removes this action to the United
States District Court for the Middle District of Tennessee, Nashville Division pursuant to
the provisions of 28 U.S.C. Sec. 1441 on the grounds that this Court has jurisdiction

pursuant to 28 U.S.C. Sec 1332.

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4. Plaintiffs, Brian D. Wilcox and Raylene Wilcox allege in the Complaint that they
are residents of the State of Tennessee.

5 . The Travelers lndemnity Company of America is correctly alleged in the
Complaint to be a foreign corporation engaged in the sale and issuance of property
insurance in Tennessee. lt is a Connecticut insurance company.

6. This dispute is between persons of different states and the amount in dispute is in
excess of $75,000.00, exclusive of costs and interest; therefore, it meets the jurisdictional
requirements of this Court pursuant to the provisions of 28 U.S.C. § 1332(a).

7. Venue is correct herein because Plaintiffs’ action is pending in Rutherford
County, Tennessee.

7. Counsel for this Defendant has served on counsel for Plaintiffs a Notice of
Removal. Copies of the Notice of Removal and Petition for Removal have been filed in
the Rutherford County Circuit Court by this Defendant Within 30 days of service of the
Complaint on Defendant.

WHEREFORE, please take notice that Defendant, The Travelers Indernnity
Company of America, removes the state action styled Brian D. Wz'lcox and Raylene
Wilcox v. T he Travelers Indemnz`ly Company of Amerz'ca, docket number 09-1320CV
from the Circuit Court of Rutherford County at Murfreesboro, Tennessee, Where it is now
pending, to the United States District Court for the Middle District of Tennessee on this

the 28th day of October, 2009.

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Respectfully submitted,
SPICER RUDSTROM PLLC

/s/ Marc O. Dedman
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Company of Amerz'ca

CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing has been sent via
United States mail, postage prepaid, and properly addressed to:

Joshua Bumett

Alan S. Marshall
Marshall Thomas Burnett
214 West Main Street
Murfreesboro, TN 37130

this 28th day of october ,2009.

/s/ Marc O. Dedman
Marc Dedman

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